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             until payment in full in U.S. Dollars.

          c. Ordering that the Defendant State pay the claims in U.S. Dollars to the Plaintiffs’
             bank account in the United States.

          d. Issuing of a Writ of Execution against any of the Defendant’s assets and ordering
             the seizure of Lebanese state’s assets.

          e. Awarding Plaintiffs’ fees and costs in pursuing this action, and such other and
             further relief this Court deems just and proper equal to $20,000,000 (U.S. Dollars)
             with such other and further relief this Court deems just, proper, and equitable.

Date: September 15, 2020
                                                ____/s/ Jason Ian Poblete__________________
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                                                ___/s/__Mauricio J. Tamargo______________
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